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                             Exhibit 23
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                                                                                       Page 433
                        UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MASSACHUSETTS



       - - - - - - - - - - - - - - x

       IN RE:    PHARMACEUTICAL           )   MDL NO. 1456

       INDUSTRY AVERAGE WHOLESALE         )   Master File No. 01-12257-PBS

       PRICE LITIGATION                   )   Subcategory Case No. 06-11337

       ----------------------------)

       THIS DOCUMENT RELATES TO:          )   Hon. Patti B. Saris

       State of California, ex rel.)

       Ven-A-Care v. Abbott               )   Wednesday, September 16, 2009

       Laboratories, Inc., et al.         )

       - - - - - - - - - - - - - - x          VOLUME II



                    Videotaped deposition of STEPHEN W.

       SCHONDELMEYER, PHARM.D., Ph.D., held at the Grand

       Hotel, 615 2nd Avenue South, Minneapolis,

       Minnesota, commenced at 9:22 a.m., the

       proceedings being recorded stenographically by

       Dawn Workman Bounds, Certified Shorthand Reporter

       and Notary Public of the State of Minnesota, and

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                                                                                 Page 474
   1
           average acquisition cost of 81.7 percent of the
   2
           AWP.
   3
                               Do you see that?
   4
                     A.        I see that statement, yes.
   5
                     Q.        Okay.         The average actual drug
   6
           acquisition cost is considerably less than the
   7
           department's current ingredient cost allowing AWP
   8
           minus 5 percent.
   9
                               Do you see that?
 10
                     A.        I see that statement, yes.
 11
                     Q.        When did they lower it to AWP minus 17;
 12
           do you know?
 13
                     A.        Well, I believe they lowered it to AWP
 14
           minus 10 in 2002, and then later lowered it to
 15
           AWP minus 17 in approximately 2004.
 16
                     Q.        Why did they take so long; do you know?
 17
                               MR. GLASER:            Objection.
 18
                     A.        I think you'd have to ask people in the
 19
           California state government.
 20
                     Q.        Fair enough.
 21
                               Take a look at the next bullet -- I'm
 22
           sorry -- the last bullet.

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                                                                                 Page 613
   1
                     Q.        And what's your understanding of why
   2
           you received this information?
   3
                     A.        I think this addresses a point that I
   4
           have addressed as a theoretical possibility in my
   5
           report, and this provides concrete data that
   6
           says, yes, that theoretical possibility does, in
   7
           fact, exist.
   8
                               This first report -- there were three
   9
           reports they ran.                     This first one concerns what's
 10
           labeled here as the subject drugs.                       That would be
 11
           drugs for either Dey, Mylan, or Sandoz that are
 12
           still included in this particular case.                           And this
 13
           is data that I believe they pulled from what they
 14
           call their formulary file in California that they
 15
           use to implement the Medi-Cal payment system.
 16
                               And they went back in their formulary
 17
           file for the subject drugs over time and
 18
           identified at various points in time was there --
 19
           were there drugs for which the AWP minus whatever
 20
           X percent was that was appropriate at the time
 21
           was actually lower than the federal upper limit
 22
           amount; meaning that actually when you use that

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                                                                                 Page 614
   1
           lower-of formula we've talked about several times
   2
           --
   3
                     Q.        Uh-huh.
   4
                     A.        -- that lower-of estimated acquisition
   5
           cost, or lower-of federal upper limit or maximum
   6
           allowable cost or usual and customary, that -- we
   7
           don't know the usual and customary here, but with
   8
           respect to the first two, that actually the AWP
   9
           minus X percent would come into play, rather than
 10
           the federal upper limit in these cases and for
 11
           these particular drugs at these points in time.
 12
                     Q.        Okay.         So is it your understanding that
 13
           this is all the examples of when that occurs for
 14
           the drugs at issue in this case?
 15
                     A.        I do not know that, that this is all
 16
           the examples.                 I believe these are -- all of
 17
           these are examples of subject drugs that have
 18
           that situation.
 19
                               I -- again, I didn't create this and
 20
           don't know the full scope of what they did behind
 21
           this to know if they pulled all examples or just
 22
           an illustrative set of examples.

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                                                                                  Page 659
   1
                     A.        I'd have to think about all the
   2
           relationships.                  I believe that's possible, but I
   3
           really haven't thought it through carefully
   4
           there.          I would qualify it.
   5
                     Q.        Well, I mean, if you're being
   6
           reimbursed 5 percent of $100 and then you're
   7
           being reimbursed 5 percent of $150, right,
   8
           assuming these are relationships that you like in
   9
           the marketplace, the profit -- the dollar amount
 10
           above cost is going to go up, right?
 11
                               MR. GLASER:              Objection.
 12
                     A.        If you're using a percent markup
 13
           reimbursement.
 14
                     Q.        Right.          It's just a mathematical
 15
           certainty, right?
 16
                     A.        If you're using a percent.
 17
                     Q.        Sure.
 18
                               Well, and that's what Medi-Cal does,
 19
           AWP minus 5, right?
 20
                     A.        It uses minus 5, yes.
 21
                     Q.        For most of the time period here?
 22
                     A.        Well, no.              It uses minus 5, minus 10,

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                                                                                 Page 660
   1
           and at the end of the period, minus 17.
   2
                     Q.        For most of the time period -- in 1994
   3
           to 2004, most of the time period, it was AWP
   4
           minus 5, right?
   5
                     A.        Yes, and it had other rates at other
   6
           times.
   7
                     Q.        So just because a retailer's profit is
   8
           going up because of an AWP change doesn't tell
   9
           you that there's something wrong with that AWP
 10
           change; is that right?
 11
                     A.        I -- I don't recall saying there was
 12
           something wrong with that scenario.
 13
                     Q.        I didn't say you did.            I'm just asking
 14
           you.
 15
                     A.        Not necessarily.           That's not greatly
 16
           different than what brand name companies do when
 17
           they raise their price under Medicaid.
 18
                     Q.        We'll look at your report in a second,
 19
           but I only recall there being, I think, four
 20
           Sandoz documents referenced in that report.
 21
                               Do you remember any other Sandoz
 22
           documents that you found -- that you relied upon

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